Case 1:21-cv-23295-JLK Document 8 Entered on FLSD Docket 09/28/2021 Page 1 of 5



                          IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

    CASE NO.: 1-21-cv-23295-JLK

    HOWARD MICHAEL CAPLAN

           Plaintiff

    vs.

    DANYANDY LLC, a Florida Limited
    Liability Company d/b/a THE SEXY BOX
    And JASMIN INVESTMENTS LLC, a
    Florida Limited Liability Company

          Defendant.
    _______________________________________/


             DANYANDY, LLC’s AND JASMIN INVESTMENT LLC’S ANSWER AND
                 AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

           COMES NOW, the Defendants, DANYANDY LLC d/b/a THE SEXY BOX and JASMIN
    INVESTMENTS, LLC by and through undersigned counsel, and files this Answer and Affirmative
    Defenses to Plaintiff’s Complaint and states:
    1.     In response to Paragraph 1 of Plaintiff’s Complaint, Defendant acknowledges that Plaintiff
    attempts to allege an action for damages under the Americans with Disabilities Act, but denies the
    allegations contained in Paragraph 1 inasmuch as the Plaintiff alleges or implies any wrongdoing
    by Defendant, that he is entitled to damages or any other relief from Defendant or that he has a
    valid claim against Defendant.
    2.     Admitted.
    3.     As to the first two sentences of Paragraph 3, Defendant is without sufficient knowledge to
    form a belief as to the truth of the matters asserted, and they are, therefore, denied. As to the third
    and fourth sentences, denied.
    4.     Defendant is without sufficient knowledge to form a belief as to the truth of the matters
    asserted, and they are, therefore, denied
Case 1:21-cv-23295-JLK Document 8 Entered on FLSD Docket 09/28/2021 Page 2 of 5



    5.     Admitted the DanyAndy and Jasmin Investments are authorized to conduct business in
    Florida, and that DanyAndy d/b/a The Sexy Box is the lessee, and Jasmin Investments is the lessor
    of the property located at 11055 Biscayne Blvd, North Miami, Florida 33181.
               CLAIMS: VIOLATIONS OF THE AMERICAN WITH DISABILITIES ACT.
    6.     Defendants adopt and re-allege its responses to the allegations stated in Paragraphs 1-5.
    7.     In response to the allegations contained in Paragraph 7 of the Plaintiff’s Complaint,
    Defendant states that the American with Disabilities Act speaks for itself and any characterizations
    or description thereof is denied.
    8.     This is a legal conclusion or statement of law, and not an allegation of fact, therefore, to the
    extent that this paragraph must be admitted or denied, it is denied.
    9.     This is a legal conclusion or statement of law, and not an allegation of fact, therefore, to the
    extent that this paragraph must be admitted or denied, it is denied,
    10.    This is a legal conclusion or statement of law, and not an allegation of fact, therefore, to the
    extent that this paragraph must be admitted or denied, it is denied.
    11.    Denied
    12.    Denied
    13.    In response to the first three sentences of Paragraph 13 of Plaintiff’s Complaint, Defendant
    is without sufficient knowledge to form a belief as to the truth of the matters asserted therein, and
    they are therefore, denied. All other allegations are denied.
    14.    This is a legal conclusion or statement of law, and not an allegation of fact, therefore to the
    extent that this paragraph must be admitted or denied, it is denied.
    15.    Denied
    16.    Denied
    17.    Denied
    18.    Denied
    19.    Denied
    20.    Denied
                                   REQUEST FOR RELIEF
    21.    Denied
    22.    Denied
    23.    Denied
    24.    Denied
Case 1:21-cv-23295-JLK Document 8 Entered on FLSD Docket 09/28/2021 Page 3 of 5



    25.    Denied
                                   AFFIRMATIVE DEFENSES
    1.     As a First Affirmative Defense, Defendants state that the Plaintiff has not suffered a
    cognizable injury or damages, including in the future.
    2.     As a Second Affirmative Defense, Plaintiff’s claims in the Complaint fail to state a claim
    upon which relief may be granted
    3.     As a Third Affirmative Defense, Defendants limit liability to the extent that the property
    possessed was built prior to January 26, 1992, and therefore not subject to the ADA guidelines for
    new construction.
    4.     As a Fourth Affirmative Defense, Defendants limit liability to the extent that any
    alterations to the property occurred prior to September 15, 2010 and are subject to the 1991 ADA
    standards.
    5.     As a Fifth Affirmative Defense, Plaintiff does not have standing to assert any of claims
    asserted in the Complaint because he has not suffered a cognizable injury or damages as he has
    never patronized or visited the subject property with the intent to patronize it; nor does he have a
    definite intention of patronizing or visiting the property in the future for that purpose.
    6.     As a Sixth Affirmative Defense, the barrier removals the Plaintiff seeks are either not
    readily achievable, not required, technically infeasible, would create an undue burden on the
    defendants, would fundamentally alter the use of the property and/or would create a risk to the
    health and safety of the Plaintiff’s and or use of others.
    7.     As a Seventh Affirmative Defense, Defendant has made and continues to make a good faith
    effort to comply with The Americans with Disabilities Act.
    8.     As an Eighth Affirmative Defense, Plaintiff’s claims are barred because the claimed
    violations are “de minimus” and not actionable, as such violations do not materially impair
    Plaintiff’s use of an area for an intended purpose.
    9.     As a Ninth Affirmative Defense, Defendants have neither taken nor ratified any action with
    discriminatory purpose or intent. Rather, contrary to Plaintiff’s allegations, Defendants have acted
    in good faith and have not authorized any action prohibited by law or committed any unlawful
    practice, or engaged in any inappropriate activities.
    10.    As a Tenth Affirmative Defense, Plaintiff’s attorney’s fees, expenses and costs are not
    reasonable and necessary, particularly in light of Plaintiff’s failure to give any notice of their
Case 1:21-cv-23295-JLK Document 8 Entered on FLSD Docket 09/28/2021 Page 4 of 5



    claims to Defendant before filing suit, and Defendant’s willingness to immediately conduct an
    inspection of the property at issue.
    11.      As an Eleventh Affirmative Defense, the Plaintiff is not entitled to injunctive Relief
    because he has failed to show a real and immediate threat of future harm.
    12.      As a Twelfth Affirmative Defense, Plaintiff lacks standing o seek injunctive relief or other
    relief with respect to barriers not actually encountered by the Plaintiff and as to which there was no
    prior notice as of the time of filing the complaint.
                                  DEMAND FOR JURY TRIAL
          The Defendants Demand a trial by jury on all issues so triable.



                                                                    Scott Egleston, PA
                                                                    Counsel for Defendants
                                                                    Florida Bar Number 883425
                                                                    152 N.E. 167th Street Suite 300
                                                                    Miami, Florida 33162
                                                                    Telephone: (305) 892-8088
                                                                    Email: scott@eglestonlegal.com


                                                                    By_/s/Scott Egleston___________
                                                                    Scott Egleston, Esq.


                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY a true and correct copy of the foregoing was served by

    electronically filing with the Clerk of Court using CM/ECF on this 28th day of September 2021 ,

    on all counsel or parties of record on the service list below


                                                                By: _/s/Scott Egleston___
                                                                     Scott Egleston, Esq
                                                                     Florida Bar No. 883425
                                        SERVICE LIST

    Ronald E. Stern, Esquire
    The Advocacy Law Firm, P.A.
    1250 E. Hallandale Beach Boulevard
    Suite 503
    Hallandale Beach, Florida 33009
Case 1:21-cv-23295-JLK Document 8 Entered on FLSD Docket 09/28/2021 Page 5 of 5



    Telephone No.: 954-639-1706
    Facsimile: 954-639-7198
    E-Mail: ronsternlaw@gmail.com
